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UNlTED STATES D|STR|CT COURT
WESTERN D|STR|CT OF NEW YORK

 

BEYENE TEWGDROS,
Petitioner,

-vs- DEClSlON AND ORDER
17-CV-6655-CJS
MR. JEFF SESS|ON, Attorney General of the \
United States, et al.,

Respondents.

 

Siragusa, .l. Respondents have moved to dismiss Petitioner’s habeas corpus petition
filed on September 18, 2017, ECF No. l. l\/lotion to Dismiss, Ju|. 10, 2018, ECF No. 12. The
Court issued a decision and order on July 27, 2018, directing Respondents to serve Petitioner
at his current location and file proof of service with the Court. Respondents have done so and
more than fifteen days have passed since service. Petitioner has not responded to the motion,

Petitioner is no longer in the custody of the Federal Department of Homeland Security,
lmmigration, and Customs Enforcement (“DHS”). Consequently, this Court is without
jurisdiction to grant Petitioner’s petition. Accordingly, it is hereby

ORDERED, that Respondents’ motion, ECF No. 12, is granted; and it is further

ORDERED, that the petition is hereby dismissed pursuant to Rule 4 of the Ru|es
Governing Section 2254 Cases in the United States District Courts; and it is further

ORDERED, that because the issues raised here are not the type of issues that a court
could resolve in a different manner, and because these issues are not debatable among

jurists of reason, the Court concludes that petitioner has failed to make a substantial showing

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of the denial of a constitutional right, 28 U.S.C. § 2253(0)(2), and accordingly the Court denies
a certificate of appealability; and it is further

CERT|F|ED, pursuant to 28 U.S.C. § 1915(a)(3), that any appeal from this judgment
would not be taken in good faith and the Court therefore denies leave to appeal as a poor
person. Coppedge v. United States, 369 U.S. 438, 82 S. Ct. 917, 8 L.Ed.2d 21 (1962). Further,
Petitioner must file any notice of appeal with the C|erk’s Office, United States District Court,
Western District of New York, within thirty (30) days of the date ofjudgment in this action.
Requests to proceed on appeal as a poor person must be filed with the United States Court
of Appea|s for the Second Circuit in accordance with the requirements of Rule 24 of the
Federal Ru|es of Appe|late Procedure.

lT |S SO ORDERED.

DATED: october j , 2018
Rochester, New York Qj )A
213/dod \ ~ ULQWMG
CHARLES J. SlR SA
United States 's ict .ludg

